                 Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 1 of 9




1                                                                                         Hon. John H. Chun

2

3

4

5

6                              UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
7
     KURT A. BENSHOOF; A.R.W. by and through
8    his father, KURT A. BENSHOOF,                             No. 2:24-cv-00808-JHC

9                                      Plaintiffs,             DEFENDANT MARSHALL
            v.                                                 FERGUSON’S MOTION TO DISMISS
10                                                             PURSUANT TO FRCP 12(b)(6)
     MARSHALL FERGUSON, J. DOE, BLAIR
11   RUSS, JESSICA SKELTON, MICHAEL
     TRACY, SARAH TURNER, JAMAL                                NOTED ON MOTION CALENDAR:
12   WHITEHEAD,                                                November 15, 2024

13                                     Defendants.

14
                                            I.       INTRODUCTION
15
             Defendant Marshall Ferguson (“Defendant”) respectfully asks this Court to dismiss all of
16
     Plaintiff’s (“Plaintiff” or “Benshoof”) claims against him with prejudice pursuant to Fed. R. Civ. P.
17
     Rule 12(b)(6). First, defendant is entitled to absolute judicial immunity from all alleged actions related
18
     to this lawsuit as a King County Superior Court judge. In addition, the complaint regurgitates
19
     formulaic recitals and conclusory statements as facts, and lacks valid basis to support any cognizable
20
     legal theory against Judge Ferguson. Since no amendment would allow Plaintiff to recover damages
21
     from Judge Ferguson, Defendant asks this Court to dismiss the claims against him with prejudice and
22
     without leave to amend.
23

                                                                                    Leesa Manion (she/her)
                                                                                    Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 1                                     CIVIL DIVISION
                                                                                    701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                              Seattle, WA 98104
                                                                                    (206) 477-1120 Fax (206) 296-0191
                Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 2 of 9




1                                      II.    FACTUAL BACKGROUND

2            Plaintiff Kurt Benshoof filed this action on June 7, 2024 against defendants Marshall

3    Ferguson, Blair Russ, Jessica Skelton, Michael Tracy, Sarah Turner, and Jamal Whitehead. Dkt. #1.

4    Defendant Marshall Ferguson is a King County Superior Court Judge who was assigned to one of

5    Mr. Benshoof’s cases in the state trial court and eventually entered an order restricting his abusive

6    litigation. See Dkt. #21, Ex. 5 and 6. Other named defendants in this case are attorneys and judges

7    who have either represented opposing parties or presided over civil cases involving Mr. Benshoof in

8    both state and federal courts. See Dkt. #1 at p. 5.

9    Procedural History relevant to Judge Ferguson1

10           1) King County Superior Court Cause No. 21-5-00680-6 SEA

11           Plaintiff Kurt Benshoof and Jessica Owen are parents of A.R.W. Dkt. #1 at p. 9, ¶19. They

12   were parties to several cases in King County Superior Court, including a parentage determination

13   action under King County Superior Court cause no. 21-5-00680-6 SEA. Dkt. #1 at p. 9-11, ¶16-28.

14   The assigned Judge David Keenan entered the final child custody orders on October 21, 2022 that

15   granted the sole residential custody of A.R.W. to Ms. Owen and restrained Mr. Benshoof from having

16   any contact with both Ms. Owen and A.R.W. Dkt. #21, Ex. 1, 2, and 3. Attorney Nathan Caliber

17   represented Ms. Owen in the parentage determination action. Ibid.

18           2) King County Superior Court Cause No. 22-2-15958-8 SEA

19           On October 3, 2022, Mr. Benshoof filed a complaint against Nathan Caliber, Jessica Owen

20   and two other defendants for tort, abuse of process, and defamation under King County Superior

21
     1
22     A court may take judicial notice of proceedings of other courts of record if those proceedings have a
     direct relation to matters at issue. Trigueros v. Adams, 658 F.3d 983, 987 (9th Cir. 2011). Judicial notice
     is particularly appropriate for court records (including the court’s own records) in prior litigation related
23   to the case before it. Amphibious Partners, LLC v. Redman, 534 F.3d 1357, 1361-1362 (10th Cir. 2008).

                                                                                        Leesa Manion (she/her)
                                                                                        Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 2                                         CIVIL DIVISION
                                                                                        701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                                  Seattle, WA 98104
                                                                                        (206) 477-1120 Fax (206) 296-0191
               Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 3 of 9




1    Court cause no. 22-2-15958-8 SEA. Dkt. #1 at p. 12. The case was eventually assigned to Judge

2    Marshal Ferguson.

3            As the assigned judge, Judge Ferguson made various rulings and issued orders in the case,

4    including the March 6, 2023 vexatious litigant order and temporary order restricting abusive litigation

5    against Mr. Benshoof. Dkt. #21, Ex. 5. On March 31, 2023, Judge Ferguson entered the order

6    Restricting Abusive Litigation of Kurt Benshoof. Dkt. #21, Ex. 6.2

7            Mr. Benshoof now names Judge Ferguson (in his individual capacity) as a defendant in the

8    present lawsuit for actions taken in King County Superior Court cause no. 22-2-15958-8 SEA.

9                                      III. STANDARD OF REVIEW

10           Dismissal is proper under Fed. R. Civ. P. 12(b)(6) when the complaint lacks a cognizable legal

11   theory or fails to allege sufficient facts to support a cognizable legal theory. Zixiang Li v. Kerry, 710

12   F.3d 995, 999 (9th Cir. 2013) (quoting Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104

13   (9th Cir. 2008)). A motion to dismiss may be granted if the complaint, with all factual allegations

14   accepted as true, fails to “raise a right to relief above the speculative level.” Bell Atlantic Corp. v.

15   Twombly, 550 U.S. 544, 545, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). Although material facts in

16   the complaint are taken as true and construed in the light most favorable to the nonmoving party,

17   complaints that offer no more than “labels and conclusions” or “a formulaic recitation of the

18   elements of action will not do.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d

19   868 (2009); Dichter-Mad Family Partners, LLP. v. United States, 709 F.3d 749, 761 (9th Cir.

20   2013). The Court is not required “to accept as true allegations that are merely conclusory,

21

22   2
       Under Federal Rule of Evidence 201, courts may take judicial notice of a fact that is not subject to
     reasonable dispute because it “can be accurately and readily determined from sources whose
23   accuracy cannot be reasonably questioned.” Fed. R. Evid. 201(b)(2).
                                                                                   Leesa Manion (she/her)
                                                                                   Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 3                                    CIVIL DIVISION
                                                                                   701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                             Seattle, WA 98104
                                                                                   (206) 477-1120 Fax (206) 296-0191
               Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 4 of 9




1    unwarranted deductions of fact, or unreasonable inferences.” Wilson v. Hewlett–Packard Co., 668

2    F.3d 1136, 1145 n. 4 (9th Cir. 2012); Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th

3    Cir.2001).

4                                            IV. ARGUMENT

5            For the following reasons, Plaintiff’s claims against Judge Ferguson should be dismissed:

6       A.        Judge Ferguson is entitled to absolute judicial immunity

7            The complaint against Judge Ferguson should be dismissed because judges are absolutely

8    immune from civil liability for judicial acts. See Stump v. Sparkman, 435 U.S. 349, 359 (1978).

9    Issuing court orders is a quintessential judicial function. See ibid. at 362 (finding that

10   a judge's issuance of an order was a judicial act and “the type of act normally performed only

11   by judges”). A judge retains absolute immunity even when “the action he took was in error, was done

12   maliciously, or was in excess of his authority; rather, he will be subject to liability only when he

13   has acted in the ‘clear absence of all jurisdiction.” Id. at 356–57 (citing Bradley v. Fisher, 80 U.S.

14   335, 351, 20 L.Ed. 646 (1872)). This strong immunity protects judicial independence by insulating

15   judges from vexatious actions prosecuted by disgruntled litigants. Forrester v. White, 484 U.S. 219,

16   108 S. Ct. 538, 540, 98 L. Ed. 2d 555 (1988). Immunity is only overcome when a judge takes

17   nonjudicial actions or actions in complete absence of all jurisdiction. Mireles v. Waco, 502 U.S. 9,

18   11-12, 112 S.Ct. 286, 288 (1991).

19           Mr. Benshoof alleges that Judge Ferguson committed the following acts:

20           1) Denied Benshoof’s right to appear in court in person because he would not wear a mask
                or face shield to enter the courtroom. Dkt. #1 at p. 14, ¶40.
21
             2) Denied Benshoof’s motion to change venue to Snohomish County Superior Court. Dkt.
22              #1 at p. 14, ¶43-44.

23           3) Communicated ex parte with defense counsel. Dkt. #1 at p.15, ¶45-46.

                                                                                 Leesa Manion (she/her)
                                                                                 Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 4                                  CIVIL DIVISION
                                                                                 701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                           Seattle, WA 98104
                                                                                 (206) 477-1120 Fax (206) 296-0191
               Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 5 of 9




1           4) Provided case law to defense counsel. Dkt. #1 at p. 15, ¶47.

2           5) Dismissed Benshoof’s claims for lack of evidence. Dkt. #1 at p. 15, ¶48-56.

3           6) Imposed monetary sanctions against Benshoof. Dkt. #1 at p. 18, ¶70.

4           7) Granted judgments against Benshoof in favor of defendants Hermsen, Lerman, Owen,
               and Caliber. Dkt. #1 at p. 19, ¶71-74; id. at p. 25, ¶109-110.
5
            8) Entered orders restricting abusive litigation against Benshoof without jurisdiction. Dkt.
6              #1 at p. 19-23, ¶75-97.

7           9) Entered contempt orders against Benshoof without jurisdiction. Dkt. #1 at p. 23-24,
               ¶100-107.
8
            10) Threatened Benshoof with arrest and additional monetary sanctions for contempt. Dkt.
9               #1 at p. 24-25, ¶108.

10          11) Denied Benshoof the ability to seek habeas relief due to the order restricting abusive
                litigation. Dkt. #1 at p. 26-28, ¶119-129.
11
            Mr. Benshoof does not dispute that Judge Ferguson engaged in judicial acts. Instead, he
12
     alleges that Judge Ferguson did not have jurisdiction over him because he and Ms. Owen were
13
     never parties to “domestic relations.” Dkt. #1 at p. 10.
14
            Mr. Benshoof’s contention is without legal basis or merit. Superior court has original
15
     jurisdiction in all cases and of all proceedings in which jurisdiction was not vested exclusively in
16
     some other court. RCW 2.08.010. Additionally, superior court has jurisdiction to adjudicate
17
     parenting plans, child custody, visitation, or support, or the distribution of property or obligations.
18
     RCW 26.12.010. As a judge of the superior court, Judge Ferguson acted fully within his
19
     jurisdiction and judicial authority when he issued rulings and entered orders in King County
20
     Superior Court cause no. 22-2-15958-8 SEA.
21
            Even assuming Judge Ferguson’s actions taken in the case were in error, he remains
22
     protected by judicial immunity. O’Neil v. City of Lake Oswego, 642 F.2d 367, 369 (9th Cir. 1981)
23

                                                                                  Leesa Manion (she/her)
                                                                                  Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 5                                   CIVIL DIVISION
                                                                                  701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                            Seattle, WA 98104
                                                                                  (206) 477-1120 Fax (206) 296-0191
                Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 6 of 9




1    (holding that a judge who convicted a defendant of contempt, an act within the court’s jurisdiction,

2    without the affidavit required by state law to confer jurisdiction over the offense was still entitled

3    to immunity; his act was in excess of his jurisdiction, not in clear absence of all jurisdiction). Mr.

4    Benshoof has not provided any evidence that Judge Ferguson acted outside of his judicial scope or in

5    clear absence of all jurisdiction. Therefore, all claims against Judge Ferguson should be dismissed for

6    judicial immunity.

7        B.      Judicial immunity applies even when Plaintiff sues Judge Ferguson in “his
                 individual capacity”
8
              Plaintiff further argues that Judge Ferguson is not entitled to judicial immunity because he is
9
     being sued in his “individual capacity” and not as a judge. Mr. Benshoof’s distinction, that Judge
10
     Ferguson and Marshall Ferguson are two different people, is not supported by the law.
11
              To determine when judicial immunity applies, courts look to the function being performed
12
     rather than the person performing it by using factors to assess whether an action is judicial in nature.
13
     Stump, 435 U.S. at 362. These factors include “whether it is a function normally performed by a
14
     judge, and to the expectations of the parties” and “whether they dealt with the judge in his judicial
15
     capacity.” Id.
16
              In this case, all of Judge Ferguson’s acts alleged in the complaint were judicial acts normally
17
     performed by a judge and done within his capacity as a judge. Therefore, Judge Ferguson’s actions,
18
     even in his individual capacity, fall within the scope of judicial conduct and judicial immunity applies.
19
         C.      Plaintiff’s Complaint fails to state a cognizable legal theory against Judge Ferguson
20
              The Court should also dismiss Plaintiff’s complaint for lack of cognizable legal theory and
21
     merit. In the 92-page complaint, Mr. Benshoof offered nothing but formulaic legal conclusions and
22
     duplicative legal elements that he has presented in his prior lawsuits against judicial officers to support
23

                                                                                     Leesa Manion (she/her)
                                                                                     Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 6                                      CIVIL DIVISION
                                                                                     701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                               Seattle, WA 98104
                                                                                     (206) 477-1120 Fax (206) 296-0191
                Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 7 of 9




1    his causes of action against Judge Ferguson. See Benshoof v. Keenan, et al. No. 23-cv-751-RAJ

2    (Dismissed by the court, Dkt. #22 (W.D. Wash. June 12, 2023) (Dismissal summarily affirmed, No.

3    23-35418, Dkt. #8 (9th Cir. October 27, 2023)); Benshoof v. Admon, et al. W.D. Wash. No. 2:23-cv-

4    01392-JNW (Dismissed by the court, Dkt. #245).

5             Among the implausible causes of action, Mr. Benshoof claims that Judge Ferguson

6    engaged in witness tampering; kidnapping; subornation of perjury; rendering criminal assistance

7    in extortion; violation of his free exercise of religion not to wear a mask; violation of his first

8    amendment right to associate with his son; violation of his first amendment right to petition for

9    redress of grievances; violations of fourth, fifth, eighth, and fourteenth amendments, and

10   conspiracy. Dkt. #1, at p. 37-90. Similar conclusory allegations were dismissed by Judge

11   Whitehead in Benshoof v. Admon, No. 2-23-cv-1392-JNW. This Court also found Mr. Benshoof’s

12   claims against defendant Jessica Skelton lacked any merit. Dkt. #40. The Court should also dismiss

13   Mr. Benshoof’s claims against Judge Ferguson for the same reasons.

14       D.      Amending the Complaint would be futile

15            The Court should dismiss the complaint against Judge Ferguson with prejudice and without

16   leave to amend because no amendment would allow Mr. Benshoof to recover damages against a

17   judicial officer. “Dismissal without leave to amend is proper if it is clear that the complaint could not

18   be saved by amendment.” Lund v. Cowan, 5 F.4th 964, 973 (9th. Cir, 2021); Huffman v. Lindgren, 81

19   F. 4th 1016, 1022 (9th Cir. 2023).

20            Although leave to amend should generally be given freely, factors such as futility of the

21   proposed amendment and prejudice to the opposing party may be taken into consideration when

22   deciding whether to permit an amendment. Lockheed Martin Corp. v. Network Sols., Inc., 194 F.3d

23

                                                                                   Leesa Manion (she/her)
                                                                                   Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 7                                    CIVIL DIVISION
                                                                                   701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                             Seattle, WA 98104
                                                                                   (206) 477-1120 Fax (206) 296-0191
                Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 8 of 9




1    980, 986, (9th Cir. 1999). Futility supports the refusal to grant leave when the legal basis for a

2    cause of action is tenuous. Id.

3             As established above, Mr. Benshoof cannot show that Judge Ferguson acted in clear

4    absence of all jurisdiction or that Judge Ferguson is not entitled to judicial immunity. This is true

5    even if the complaint was amended to say that the action Judge Ferguson took was in error, was

6    done maliciously, or was in excess of his authority. Supra. In view of absolute judicial immunity

7    accorded to judges, amending the complaint against any judicial officer is futile. The Court should

8    therefore dismiss Plaintiff’s claims against Judge Ferguson with prejudice and without leave to

9    amend.

10                                           V.    CONCLUSION

11            For those forgoing reasons, Plaintiff Kurt Benshoof’s causes of action fail as a matter of law.

12   Accordingly, the Court should dismiss all causes of action against Judge Ferguson with prejudice and

13   without leave to amend.

14
              I certify that this response contains 2030 words, in compliance with the Local Civil Rules.
15

16            DATED this 27th day of September 2024.

17
                                                     LEESA MANION (she/her)
18                                                   King County Prosecuting Attorney

19                                                   By: s/ Peggy Wu
                                                         PEGGY WU, WSBA #35941
20                                                       Senior Deputy Prosecuting Attorney
                                                         King County Prosecuting Attorney’s Office,
21                                                       Civil Division
                                                         701 5th Avenue, Suite 600
22                                                       Seattle, WA 98104
                                                         pwu@kingcounty.gov
23                                                       Attorney for Marshall Ferguson

                                                                                   Leesa Manion (she/her)
                                                                                   Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 8                                    CIVIL DIVISION
                                                                                   701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                             Seattle, WA 98104
                                                                                   (206) 477-1120 Fax (206) 296-0191
               Case 2:24-cv-00808-JHC Document 44 Filed 09/27/24 Page 9 of 9




1                             CERTIFICATE OF FILING AND SERVICE

2           I hereby certify that on September 27, 2024, I electronically filed the foregoing document

3    with the Clerk of the Court using the CM/ECF E-filing system which will send automatic

4    notification to the following:

5                                            Kurt A. Benshoof
                                             1716 N 128TH ST
6                                         SEATTLE, WA 98133
                                               206-460-4202
7                                     Email: kurtbenshoof@gmail.com
                                                   Pro Se
8
            I also hereby certify that on September 27, 2024, I sent the same via US Postal Service to
9
     the following:
10
                    Kurt Benshoof                                    Howard Brown
11                BKG. #2024-008067                               1003 W. Michigan St.
            King County Correctional Facility                     Hammond, LA 70401
12           Maleng Regional Justice Center
                 620 West James Street
13                 Kent, WA 98032

14

15          I declare under penalty of perjury under the laws of the State of Washington that the

     foregoing is true and correct.
16
            DATED this 27th day of September 2024.
17

18                                               By: s/ Katie Wilson
                                                    KATIE WILSON
19                                                  Paralegal, Civil Division
                                                    King County Prosecuting Attorney’s Office
20

21

22

23

                                                                              Leesa Manion (she/her)
                                                                              Prosecuting Attorney
     DEFENDANT FERGUSON’S MOTION TO DISMISS - 9                               CIVIL DIVISION
                                                                              701 5th Avenue, Suite 600
     2:24-CV-00808-JHC                                                        Seattle, WA 98104
                                                                              (206) 477-1120 Fax (206) 296-0191
